









Dismissed and Opinion filed March 6, 2003









&nbsp;

Dismissed and Opinion filed March 6, 2003.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO.
14-02-01222-CR

____________

&nbsp;

MICHAEL SCOTT NUNN, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On
Appeal from the County Criminal Court at Law No. 8

Harris County, Texas

Trial
Court Cause No. 1127173

&nbsp;



&nbsp;

M
E M O R A N D U M&nbsp;&nbsp; O P I N I O N

A written request to withdraw the notice of appeal, personally signed by
appellant, has been filed with this Court.&nbsp;
See Tex. R. App. P.
42.2.&nbsp; Because this Court has not
delivered an opinion, we grant appellant=s request.

Accordingly, we order the appeal dismissed.&nbsp; We direct the Clerk of the Court to issue the
mandate of the Court immediately.

PER CURIAM

&nbsp;








Judgment rendered and Opinion filed
March 6, 2003.

Panel consists of Chief Justice
Brister and Justices Fowler and Edelman.

Do not publish ‑ Tex. R. App. P. 47.2(b).

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